USDC IN/ND case 1:06-cr-00034-WCL-RBC                     document 33     filed 09/22/06     page 1 of 3


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                    FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                       v.                             )       CAUSE NO. 1:06-cr-34-02 WCL
                                                      )
DEBORAH F. LANE                                       )
                                                      )
                               Defendant.             )


                               ACCEPTANCE OF PLEA OF GUILTY,
                                ADJUDICATION OF GUILTY AND
                                   NOTICE OF SENTENCING

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which the

defendant has waived objection, and subject to this Court's consideration of the Plea Agreement pursuant

to Fed. R. Crim. P. 11(e)(2), the plea of guilty of the offense charged in Count 3 of the indictment is

hereby accepted, and the defendant Deborah F. Lane is adjudged guilty of such offense. The defendant

and her counsel shall appear before the undersigned for sentencing on the 20th day of November, 2006,

at 8:301 a.m. The attention of the parties is directed to the timetable outlined in the Presentence

Scheduling Notice attached hereto. If counsel are unable to comply with this timetable, they shall obtain

an extension of the filing deadline from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court an

adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not been



          1
          PLEASE NOTE that the time of the sentencing has been changed from 10:00 a.m. (as
   announced at the time of the plea hearing, to 8:30 a.m. on 11/20/06)
 USDC IN/ND case 1:06-cr-00034-WCL-RBC                   document 33        filed 09/22/06      page 2 of 3


timely filed, it will be the responsibility of said counsel to file a motion for continuance of the sentencing,

and provide to the court a full recitation of the reasons why the objection or objections were not timely

filed.

         IT IS SO ORDERED this         22nd     day of September       , 2006.




                                                /s/William C. Lee
                                                William C. Lee, Judge
                                                United States District Court
USDC IN/ND case 1:06-cr-00034-WCL-RBC          document 33        filed 09/22/06        page 3 of 3


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

United States of America,

              vs.                             Criminal No.    1:06-cr-34-02 WCL

Deborah F. Lane

              Defendant.

                            PRESENTENCE SCHEDULING NOTICE

 Date of Referral to Probation Officer:                             September 6, 2006
                                                                   (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                             October 16, 2006
                                                                 (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                     November 10, 2006
                                                                 (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                     November 20, 2006
                                                             (At Least 70 Days After Plea or Verdict)
